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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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In re:                                                           :      Chapter 11
                                                                 :
Republic Metals Refining Corporation, et al. 1                   :      Case No. 18-13359 (shl)
                                                                 :
                  Debtors.                                       :      (Jointly Administered)
                                                                 :
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                ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION
                    OF COOLEY LLP AS COUNSEL FOR THE OFFICIAL
                       COMMITTEE OF UNSECURED CREDITORS

                    Upon the application (the “Application”) 2 of the Official Committee of Unsecured

Creditors (the “Committee”) in the above-captioned chapter 11 cases for entry of an order

authorizing the Committee to employ and retain Cooley LLP (“Cooley”) as its counsel nunc pro

tunc to November 19, 2018, the date the Committee determined to employ Cooley as counsel in

these cases, pursuant to section 1103 of title 11 of the United States Code, Rule 2014(a) of the

Federal Rules of Bankruptcy Procedure, and the Local Bankruptcy Rules for the Southern

District of New York; and upon the Declaration of Seth Van Aalten of Cooley LLP (the “Van

Aalten Declaration”) attached to the Application as Exhibit B; and upon the Declaration of

Delaney Fisher, Chairperson of the Committee (the “Fisher Declaration”) attached to the

Application as Exhibit C; and the Court having jurisdiction pursuant to sections 157 and 1334 of

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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 N.W. 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL 33054
(1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegaci6n Cuauhtemoc, Mexico DF 6000 (2942).
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    Capitalized terms not otherwise herein defined shall have the meanings ascribed to such terms in the Application.
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title 28 of the United States Code to consider the Application and the relief requested therein;

and venue being proper in this Court pursuant to sections 1408 and 1409 of title 28 of the United

States Code; and the Court being satisfied that notice of this Application and the opportunity for

a hearing on this Application was appropriate under the particular circumstances and no further

or other notice need by given; and the Court being satisfied, based on the representations made in

the Application and the Van Aalten Declaration, that Cooley does not represent or hold any

interest adverse to the Debtors or their estates as to the matters upon which Cooley has been and

is to be employed, and that Cooley is a “disinterested person” as such term is defined in section

101(14) of the Bankruptcy Code; and the Court having determined that the relief sought in the

Application is in the best interests of the Committee, the Debtors, their creditors, and all parties

in interest; and this Court having determined that the legal and factual bases set forth in the

Application and in the Van Aalten Declaration establish just cause for the relief granted herein;

and after due deliberation and sufficient cause appearing therefor, it is hereby ORDERED that:

       1.      The Application is GRANTED to the extent set forth herein.

       2.      In accordance with section 1103(a) of the Bankruptcy Code and Bankruptcy Rule

2014, the Committee is authorized to employ and to retain Cooley LLP as its counsel, nunc pro

tunc to November 19, 2018, on the terms and conditions set forth in the Application and in the

Van Aalten Declaration.

       3.      Cooley shall apply for compensation and reimbursement in accordance with the

procedures set forth in sections 330 and 331 of the Bankruptcy Code, applicable provisions of

the Bankruptcy Rules, the Local Rules, any order establishing procedures for interim

compensation, and any fee and expense guidelines of this Court.
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       4.      Cooley will provide notice of any rate increases by notifying the Committee and

filing a notice with the Court. The Committee, the U.S. Trustee, and all parties-in-interest retain

all rights to object to any rate increase on all grounds including, but not limited to, the

reasonableness standard provided for in section 330 of the Bankruptcy Code, and the Court

retains the right to review any rate increase pursuant to section 330 of the Bankruptcy Code.

       5.      The Committee and Cooley are authorized to take all actions they deem necessary

and appropriate to effectuate the relief granted pursuant to this Order in accordance with the

Application.

       6.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       7.      This Court shall retain jurisdiction with respect to all matters arising from or

relating to the interpretation or implementation of this Order.

Dated: January 16, 2019
       New York, New York
                                               /s/ Sean H. Lane
                                               HONORABLE SEAN H. LANE
                                               UNITED STATES BANKRUPTCY JUDGE
